                            UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                   CHARLOTTE DIVISION


UNITED STATES OF AMERICA

      V.                                            CASE NUMBER: 3:11cr373-FDW-3


KAMAL ZAKI QAZAH


       THIS MATTER is before the Court on Fourth Circuit Court of Appeals Order of remand,

filed 11/17/2015, for resentencing.

       NOW, THEREFORE, IT IS ORDERED that:

       The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

       transport and produce the body of KAMAL ZAKI QAZAH (USM# 26888-003), for

       resentencing before the honorable Frank D. Whitney,      in the Western District of North

      Carolina, Charlotte, North Carolina not later than February 18,2016, and upon completion

       of the resentencing hearing, Defendant is to be returned to the custody of the Bureau

      of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

      Defendant’s Counsel, the United States Marshal Service, and the United States Probation

      Office.

      IT IS SO ORDERED.

                                   Signed: January 25, 2016




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